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                                                                                                                               FILED



                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF WYOMING                                                                           1:38 pm, 3/10/22

                                                                                                                       Margaret Botkins
                                                                                                                        Clerk of Court
         UNITED STATES OF AMERICA

                                  vs.

                Jiovanni Domonic Ayala                             Case Number: 21-cr-00008-ABJ-6

                         Defendant.
                         ARRAIGNMENT/CHANGE OF PLEA MINUTE SHEET

Date March 10, 2022                          Time        12:41pm - 1:33pm

     Arraignment              ✔   Change of Plea             Before the Honorable                   Alan B. Johnson

 Interpreter: N/A                                            Int. Phone: N/A

     Becky Harris                   Melanie Sonntag                Laura M. Harris                           RM / LK
            Clerk Court Reporter       Probation Officer                                                  U.S. Marshal
APPEARANCES Government: Jonathan Coppom
                         Defendant:          Ericka Smith
                                                  FPD ✔ PANEL-CJA                       RETAINED              WAIVED
    Defendant Waives Indictment
    Information filed by Government
    Superseding Indictment/Information filed by Government
    DEFENDANT ENTERS A PLEA OF
    Not Guilty to Count(s)                                     of an Indictment
✔   Guilty to Count(s)                  7s and 8s              of an Indictment
    Nolo Contendere
                         NOT GUILTY PLEA                                       GUILTY PLEA
    Court accepts Nolo Contendere Plea                         ✔    Court is satisfied there is factual basis for plea of guilty
    Court orders discovery per Rule 16 FRCrP                   ✔    Defendant referred to probation for presentence investigation

    Court orders access to Grand Jury Transcripts              ✔    Defendant advised on consequences of a plea of guilty
    Motions to be filed in                 days or             ✔    Plea agreement filed
on/before                                                      ✔    Sentencing set for June 7, 2022              at   9:30 AM
    Trial date set for                              at              in    Cheyenne Courtroom 2
    in                                                              Plea conditionally accepted
    Speedy trial expires on                                    ✔    Count(s)       1s      to be dismissed at time of sentencing
    Other



WY54                                                                                                                  Rev. 01/21/2022
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ARRAIGNMENT/COP MINUTE SHEET




  BOND IS                ✔   Defendant is detained
                             Set at                                  Cash or Surety         Unsecured
                             Continued on the same terms and conditions
                             Continued on bond with the following conditions:
                             Released on bond with the following conditions:
  3rd party custody of                                               Seek/Maintain employment
  Report to Pretrial Services as directed                            Travel restricted to
  Maintain current residence                                         Abide by the following curfew
  Not use or possess firearms/ammunition/explosives                  Not use or possess controlled substances/drugs
  Not use or possess alcohol                                         Not use alcohol to excess
  Submit to drug/alcohol testing                                     Avoid all contact with

  Surrender passport to                                              Post property or sum of money
  Obey all laws. Federal, State and Local                            Do not obtain passport
  Undergo Medical/Psychiatric treatment/exam
  Other




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